                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA


 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:12-cr-143
 v.                                                    )
                                                       )       COLLIER / LEE
 JOSEPH DUNKIN                                         )


                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on August 6, 2013.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the seven-count

 Superseding Indictment and entered a plea of guilty to the lesser included offense of the charge in

 Count One, that is of conspiracy to manufacture and distribute methamphetamine (actual) or a

 mixture and substance containing a detectable amount of methamphetamine, a Schedule II controlled

 substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) in exchange for the

 undertakings made by the government in the written plea agreement. On the basis of the record

 made at the hearing, I find the defendant is fully capable and competent to enter an informed plea;

 the plea is made knowingly and with full understanding of each of the rights waived by defendant;

 the plea is made voluntarily and free from any force, threats, or promises, apart from the promises

 in the plea agreement; the defendant understands the nature of the charge and penalties provided by

 law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Superseding Indictment be granted, his plea of guilty to the lesser included offense of the

 charge in Count One, that is of conspiracy to manufacture and distribute methamphetamine (actual)

 or a mixture and substance containing a detectable amount of methamphetamine, a Schedule II




Case 1:12-cr-00143-TRM-SKL            Document 249         Filed 08/09/13      Page 1 of 2      PageID
                                            #: 528
 controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) be accepted, the

 Court adjudicate defendant guilty of the lesser included offense of the charge in Count One of the

 Superseding Indictment, that is of conspiracy to manufacture and distribute methamphetamine

 (actual) or a mixture and substance containing a detectable amount of methamphetamine, a Schedule

 II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C), and a decision

 on whether to accept the plea agreement be deferred until sentencing. I further RECOMMEND

 defendant remain in custody until sentencing in this matter. Acceptance of the plea, adjudication

 of guilt, acceptance of the plea agreement, and imposition of sentence are specifically reserved for

 the district judge.



                                                s/ Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE


                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




                                                   2


Case 1:12-cr-00143-TRM-SKL            Document 249         Filed 08/09/13      Page 2 of 2      PageID
                                            #: 529
